Case 6:08-cr-00026-RBD-DAB Document 55 Filed 04/22/08 Page 1 of 2 PageID 98




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

     UNITED STATES OF AMERICA

     vs.                                         CASE NO. 6:08-CR-26-ORL-19DAB

     SAMUEL PACHECO

                                             ORDER

            This case having been considered by the Court on Report and Recommendation

     Concerning Plea of Guilty (Doc. No. 53, filed April 16, 2008) and no objection thereto

     having been filed, it is ORDERED:

            1.     The Report and Recommendation of the United States Magistrate Judge (Doc.

     No. 53) is ACCEPTED, AFFIRMED AND ADOPTED.

            2.     Defendant Samuel Pacheco has entered a plea of guilty to Count One of the

     Indictment knowingly, intelligently and voluntarily. Such plea is accepted, and Defendant

     is adjudicated guilty of Count One of the Indictment.

            DONE AND ORDERED at Orlando, Florida, this           22nd      day of April, 2008.




     Copies to:
     Assistant United States Attorney
     Attorney for Defendant
     United States Marshal
     United States Probation
     United States Pretrial Services
     Defendant
Case 6:08-cr-00026-RBD-DAB Document 55 Filed 04/22/08 Page 2 of 2 PageID 99




     Courtroom Deputy
